
MURPHY, Circuit Judge.
I. INTRODUCTION
Petitioner-Appellant, Paul David Brown, III, appeals the district court’s order denying his petition for habeas- relief filed under 28 U.S.C. § 2254. Following a jury trial, Brown was convicted in Wyoming state court 'of conspiracy to commit murder. His conviction was affirmed on direct appeal and his subsequent state petition for post-conviction relief was denied. Brown brought a habeas petition in federal district court arguing, inter alia, that his Sixth Amendment right to confront witnesses had been violated by the admission of a confession made by a co-defendant. The district court denied Brown’s petition, but granted his request for a certificate of appealability on the Confrontation Clausé question. We exercise jurisdiction under 28 U.S.C. § 1291 and 28 U.S.C. § 2253 and affirm the denial of Brown’s petition.
II. BACKGROUND
Because the district court’s order denying Brown’s request for habeas relief sets forth in detail the background of Brown’s conviction, we will only briefly summarize the facts. Brown was convicted of conspiring with his co-defendant, Joseph Vena, to murder James Guthrie. Brown and Vena were working as informants for the ATF at the time Guthrie was killed. Guthrie and Brown both worked in Vena’s automo*1222bile detailing center, where Brown and Vena completed drug transactions in their roles as informants. After Guthrie’s body was discovered, Brown and Vena were questioned separately by investigators. Brown was arrested. After his interview, Vena accompanied investigators on a search for evidence. When nothing was located during the initial search, Vena agreed to meet with the officers for a second search. Prior to the second search, Vena was given Miranda warnings and interviewed again. After accompanying investigators on the second search, Vena was interviewed a third time and then arrested. The statements given by Vena described in detail how he and Brown had planned and carried out the murder.
At Brown’s trial,1 Vena invoked his Fifth Amendment privilege against self-incrimination and the district court concluded he was unavailable to testify. Vena’s statements describing the murder were introduced through the testimony of an ATF agent, Kenneth Bray, and a Cheyenne police officer, Detective Richard Zukauckas. During Zukauckas’ testimony, the trial court also allowed the prosecution to play a portion of a tape-recording of Vena describing how the murder was planned.2 Defense counsel objected to the introduction of Vena’s statements on the grounds that the statements were inadmissable hearsay and violated Brown’s right to confront witnesses against him. The trial court admitted the statements after concluding that they were trustworthy to the extent that they were equally incriminating to Brown and Vena. The court did exclude some statements by Vena indicating that it was Brown who carried out the killing.
On direct appeal, Brown reasserted his objections to the introduction of Vena’s statements. The Wyoming Supreme Court rejected Brown’s arguments, holding that the statements were admissible under Wyoming Rule of Evidence 804(b)(3) and did not constitute a violation of the Confrontation Clause.3 Brown v. Wyoming, 953 P.2d 1170, 1178-80 (Wy.1998). On the Confrontation Clause question, the Wyoming Supreme Court concluded the statements made by Vena had sufficient indicia of reliability so that there was no material departure from the substance of *1223the constitutional protection. Id. at 1179-80. In doing so, the court relied upon Ohio v. Roberts, in which the Supreme Court of the United States held that if a hearsay declarant is not present for cross-examination, his statement is admissible only if the statement bears adequate “indi-cia of reliability.” 448 U.S. 56, 66, 100 S.Ct. 2531, 65 L.Ed.2d 597 (1980) (quotation omitted). Brown filed a state petition for post-conviction relief and that petition was denied.
Brown then filed for habeas relief in the United States District Court for the District of Wyoming. In its decision, the district court examined the factors relied on by the Wyoming Supreme Court to conclude that the admission of Vena’s statements did not violate the Confrontation Clause. The district court determined that these factors were appropriate under Roberts, and that the Wyoming Supreme Court’s analysis of the reliability of Vena’s statements was not contrary to or an unreasonable application of clearly established federal law. Alternatively, the district court concluded that any error committed by the state court in admitting the statements would have been harmless. Accordingly, the district court denied Brown’s petition for habeas relief.
The district court granted Brown’s request for a certificate of appealability on two questions: (1) whether the Wyoming Supreme Court’s decision that the admission of Vena’s statements inculpating Brown did not violate Brown’s rights under the Confrontation Clause was contrary to or an unreasonable application of clearly established federal law, and (2) whether any possible violation of the Confrontation Clause was harmless error.
III. DISCUSSION
The Confrontation Clause of the Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall enjoy the right ... to be confronted with the witnesses against him.” U.S. Const, amend. VI. Brown claims that the admission of Vena’s statements was a violation of his Confrontation Clause rights.
A. AEDPA Deference
Brown filed his 28 U.S.C. § 2254 petition after April 24, 1996 and, therefore, the provisions of the Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) govern this appeal. See Battenfield v. Gibson, 236 F.3d 1215, 1220 (10th Cir.2001). In reviewing the denial of a habeas corpus petition, we review the district court’s legal conclusions de novo and its factual findings for clear error. Rogers v. Gibson, 173 F.3d 1278, 1282 (10th Cir.1999). Because the state court has reviewed the merits of Brown’s claims, habeas relief is not warranted unless the state court adjudication was contrary to or involved an unreasonable application of clearly established federal law, as determined by the Supreme Court of the United States. 28 U.S.C. § 2254(d). We presume that factual determinations made by the state court are correct unless the petitioner rebuts this presumption with clear and convincing evidence. 28 U.S.C. § 2254(e)(1).
Under Ohio v. Roberts, an out-of-court statement can be introduced against the defendant without violating the Confrontation Clause only if the statement bears guarantees of trustworthiness such that “there is no material departure from the reason [for] the general rule” requiring confrontation. 448 U.S. 56, 65, 100 S.Ct. 2531, 65 L.Ed.2d 597 (1980) (quotation omitted). The Wyoming Supreme Court determined that Roberts provided the appropriate framework for its analysis of *1224whether the admission of Vena’s statements was a violation of the Confrontation Clause. Brown, 953 P.2d at 1179-80. At the time of the decision, the Wyoming Supreme Court’s determination was accurate.4
Brown contends, however, that the Wyoming Supreme Court’s decision is contrary to clearly established federal law as announced in both Williamson v. United States, 512 U.S. 594, 114 S.Ct. 2431, 129 L.Ed.2d 476 (1994), and Lee v. Illinois, 476 U.S. 530, 543-44, 106 S.Ct. 2056, 90 L.Ed.2d 514 (1986). A decision is contrary to clearly established precedent if “the state court arrives at a conclusion opposite to that reached by [the Supreme Court] on a question of law.” Williams v. Taylor, 529 U.S. 362, 413, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000). Likewise, a state court decision would be contrary to clearly established law if the “state court confronts a set of facts that are materially indistinguishable from a decision of [the Supreme Court] and nevertheless arrives at a [different result].” Id. at 406, 120 S.Ct. 1495.
Williamson concerned whether certain evidence was admissible under Federal Rule of Evidence 804(b)(3). Williamson, 512 U.S. at 598-601, 114 S.Ct. 2431. The Court explicitly refused to reach the issue whether the statements were inadmissible under the Confrontation Clause. Id. at 605, 114 S.Ct. 2431. Accordingly, the Wyoming Supreme Court’s decision concerning whether the admission of Vena’s statement violated the Confrontation Clause *1225could not be “contrary to” or an “unreasonable application” of Williamson.
Brown also asserts that the Wyoming Supreme Court’s decision was contrary to Lee because the court considered the voluntariness of Vena’s statement as contributing to its trustworthiness. Additionally, as the district court noted, the Wyoming Supreme Court relied on corroborating evidence as another indication of the reliability of Vena’s statement. Because the Supreme Court of the United States determined that these factors are not appropriate indicators of trustworthiness under the Roberts test, we agree with Brown’s assertion.
The Supreme Court’s holdings regarding the use of corroborating evidence and voluntariness are unequivocal: reliance on them is inappropriate for determining whether a statement is trustworthy. The court in Lee noted voluntariness “does not bear on the question of whether the confession was also free from any desire, motive, or impulse [the declarant] may have had either to mitigate the appearance of his own culpability by spreading the blame or to overstate [the defendant’s] involvement.” Lee, 476 U.S. at 544, 106 S.Ct. 2056. In Idaho v. Wright, the Court held that corroborating evidence could not be used to support the reliability of a hearsay statement. 497 U.S. 805, 822, 110 S.Ct. 3139, 111 L.Ed.2d 638 (1990). The Court, applying the Roberts test, stated “[t]o be admissible under the Confrontation Clause, hearsay evidence used to convict a defendant must possess indicia of reliability by virtue of its inherent trustworthiness, not by reference to other evidence at trial.” Id. Thus, courts applying the Roberts framework could not rely on either the voluntariness of the statement or corroborating evidence when examining the statement for indicia of reliability. By relying on these factors the Wyoming Supreme Court arrived at a conclusion “diametrically different” from Supreme Court precedent. Williams, 529 U.S. at 406, 120 S.Ct. 1495. Accordingly, we conclude that the state court acted contrary to clearly established federal law.
We recognize that in the context of summary decisions this court has stated “we owe deference to the state court’s result.” Paine v. Massie, 339 F.3d 1194, 1198 (10th Cir.2003); Aycox v. Lytle, 196 F.3d 1174, 1177-78 (10th Cir.1999). This court has not applied the rule of Aycox, however, in a situation where the state court’s explicit reasoning contravenes Supreme Court precedent and we decline to do so here. Cf. Early v. Packer, 537 U.S. 3, 7-8, 123 S.Ct. 362, 154 L.Ed.2d 263 (2002) (per curiam) (holding that a state court’s failure to cite federal law does not render the decision contrary to rulings of the Supreme Court “so long as neither the reasoning nor the result of the state-court decision contradicts” Supreme Court precedent (emphasis added)).
B. Retroactivity of Crawford v. Washington
Because the Wyoming Supreme Court’s reasoning was contrary to clearly established law, AEDPA deference does not apply. See Spears v. Mullin, 343 F.3d 1215, 1248 (10th Cir.2003). That, however, is not the end of our inquiry. We must determine de novo if a violation of the Confrontation Clause occurred. Id.
Before we proceed to the examination of whether any Confrontation Clause violation occurred, however, we determine if the Supreme Court’s recent decision in Crawford v. Washington should be given retroactive effect in this case. Because we are faced with an initial habeas petition, we determine retroactivity by applying the framework set forth in Teague v. Lane, 489 U.S. 288, 109 S.Ct. 1060, 103 L.Ed.2d *1226334 (1989). United States v. Mora, 293 F.3d 1213, 1218 (10th Cir.2002). In Crawford, the Supreme Court ruled that the admission at trial of testimonial hearsay, like the statements given by Vena in this ease, is a violation of the Confrontation Clause. — U.S. ---, -, 124 S.Ct. 1354, 1374, 158 L.Ed.2d 177 (2004). Under Teague, new rules of constitutional law are not made retroactive to habeas petitions unless they “place[] certain kinds of primary, private individual conduct beyond the power of the criminal law-making authority to proscribe,” or set forth watershed rules of criminal procedure. Teague, 489 U.S. at 311, 109 S.Ct. 1060 (quotation omitted). Accordingly, our first inquiry must be whether Crawford created a new rule of constitutional law.
A decision by the Supreme Court announces a new rule if “the result was not dictated by precedent existing at the time defendant’s conviction became final.” Butler v. McKellar, 494 U.S. 407, 412, 110 S.Ct. 1212, 108 L.Ed.2d 347 (1990) (quotation omitted). As we explained above, pri- or to the decision in Crawford, Roberts provided the appropriate framework for determining whether the admission of hearsay statements violated the Confrontation Clause. The Supreme Court itself noted that the logic of Roberts was inconsistent with the Court’s conclusion in Crawford that the Confrontation Clause requires an opportunity to cross-examine before testimonial hearsay may be admitted against the defendant. Crawford, —
U.S. at -, 124 S.Ct. at 1369. Thus, Roberts and its progeny did not dictate the result in Crawford and we conclude that it announces a new rule of constitutional law. See Crawford, at-, 124 S.Ct. at 1374 (Rehnquist C.J., dissenting) (referring to the majority’s holding as a “new interpretation of the Confrontation Clause”).
Whether the rule of Crawford should be retroactively applied, therefore, depends on whether it meets one of the two exceptions articulated by the Court in Teague. Clearly, the first exception does not apply because Crawford does not place private conduct beyond the power of law-making authority to proscribe. We must examine then whether Crawford set forth a “watershed rule” of criminal procedure. As we have noted before, this exception is narrowly defined. Johnson v. McKune, 288 F.3d 1187, 1197-98 (10th Cir.2002). “To qualify as a ‘watershed’ rule of criminal procedure, the rule must not only improve the accuracy with which defendants are convicted or acquitted, but also alter our understanding of the bedrock procedural elements essential to the fairness of a proceeding.” Mora, 293 F.3d at 1218-19 (quotation omitted). We conclude that the rule in Crawford does not meet this definition.
It is true that in Crawford the Court referred to the protections of the Confrontation Clause as a “bedrock procedural guarantee,” Crawford, — U.S. at -, 124 S.Ct. at 1359, but that comment does not necessarily suggest that the rule set forth in Crawford is “on the magnitude of the rule announced in Gideon v. Wainwright”5 as it must be to fit within the Teague exception. See Mora, 293 F.3d at 1219. Unlike Gideon, Crawford does not “alter[ ] our understanding of what constitutes basic due process,” Mora, 293 F.3d at 1219, but merely sets out new standards for the admission of certain kinds of hearsay. Confrontation Clause violations are subject to harmless error analysis and thus may be excused depending on the state of the evidence at trial. Crespin v. *1227New Mexico, 144 F.3d 641, 649 (1998). It would, therefore, be difficult to conclude that the rule in Crawford alters rights fundamental to due process. See Mora, 293 F.3d at 1219 (holding that Apprendi v. New Jersey did not alter fundamental due process rights, in part because Apprendi errors could be excused given overwhelming evidence). Accordingly, we conclude that Cmivford is not a watershed decision and is, therefore, not retroactively applicable to Brown’s initial habeas petition.
C. Pre-AEDPA Analysis
We proceed to determine whether the admission of Vena’s statements constituted a Confrontation Clause violation under our pre-AEDPA precedent. Under that precedent, we presume the factual findings of the “state court and the federal district court are correct unless clearly erroneous.” Crespin v. State of New Mexico, 144 F.3d 641, 647 (10th Cir.1998). Our determination concerning the reliability of the statement is a mixed question of law and fact reviewed de novo. Id.
In Earnest v. Dorsey, this court confronted a state court decision that relied on corroborating evidence as one factor supporting the reliability of testimonial hearsay. 87 F.3d 1123, 1133 (10th Cir.1996) (applying pre-AEDPA standard). Without reliance on that factor, this court concluded that a co-defendant’s hearsay statement was sufficiently reliable to avoid a Confrontation Clause violation under the Roberts test. Id. We reached that conclusion based on the self-inculpatory nature of the statement, the level of detail concerning the crime, and the absence of any offer of leniency to the co-defendant making the statement. Id. at 1133-34.6 Those *1228same factors are present here. The state court relied on the following particularized guarantees of trustworthiness: Vena’s statements were highly incriminating to him and made before his arrest, the colloquies between Vena and the investigating officers reflect the fact that Vena was not offered any leniency in exchange for his statements,7 and Vena provided a level of detail about the crime and the location of evidence that would be difficult to fabricate. Brown, 953 P.2d at 1179-80.
Under the Roberts test, these considerations were relevant when considering whether Vena’s statements were merely designed to mislead. In Earnest we recognized that statements with a high level of detail are “difficult to render in a fabricated admission.” 87 F.3d at 1134. Likewise, we noted that the absence of any offer of leniency undercuts the motive to lie. Id. Moreover, Brown does not challenge any of the facts related to the indicia of reliability. Guided by Earnest, we must conclude that, under the applicable law at the time of the Wyoming Supreme Court’s decision the admission of Vena’s statements was not error. Accordingly, it is not necessary to address whether any error was harmless.
IV. CONCLUSION
For the reasons above we affirm the district court’s order denying Brown’s 28 U.S.C. § 2254 petition for habeas relief.

. Brown and Vena were tried separately. Brown was initially tried for first degree murder and conspiracy to commit murder. Brown was acquitted of the first degree murder charge, but the jury could not reach a verdict on the conspiracy charge. The facts described here relate to Brown’s second trial on the conspiracy charge. Vena was convicted of first degree murder and sentenced to life in prison.


. In summary, Agent Bray testified that Vena had described where he and Brown disposed of evidence after they had killed Guthrie. Zu-kauckas testified that Vena explained he asked Brown "if this is what he wanted to do,” just prior to entering the detail center to shoot Guthrie. Zukauckas also testified that Vena described how they had driven to Colorado and unloaded Guthrie’s body and how Vena and Brown had disposed of other evidence.


.In his 28 U.S.C. § 2254 petition before the district court, Brown also argued that the trial court failed to make a proper finding of unavailability before admitting Vena's confession; he was denied due process because Zukauckas improperly vouched for the credibility of Vena; the prosecution improperly appealed to the jurors; his right to trial by jury was violated when the trial court gave an instruction which directed a verdict for the state upon proof of any overt act irrespective of whether the act was committed in furtherance of the conspiracy; his counsel was ineffective for failing to raise these issues in the direct appeal; and his counsel was ineffective based on counsel’s refusal to provide Brown with free copies of certain records not contained in the trial record. We do not address these arguments here because Brown did not request a COA regarding these issues.


. More recently the Supreme Court has overruled Roberts to the extent that it would allow the admission of ''testimoniar’ hearsay into evidence against the defendant without a pri- or opportunity for cross-examination. See Crawford v. Washington, — U.S. -, -, 124 S.Ct. 1354, 1374, 158 L.Ed.2d 177 (2004). Vena’s statement would qualify as testimonial hearsay. Id. To determine the applicable "clearly established” law, we look to Supreme Court precedent as it existed when the state court reached its decision. Carter v. Ward, 347 F.3d 860, 863 (10th Cir.2003). Because Crawford was decided after the Wyoming Supreme Court announced its decision in Brown's appeal, it could only be relevant to determining the applicable "clearly established” law if it rearticulated a standard set forth in Supreme Court precedent predating the Wyoming Supreme Court’s decision. As Brown noted in his submission of supplemental authority to this court, the majority opinion in Crawford does state, "[o]ur cases have thus remained faithful to the Framer’s understanding: Testimonial statements of witnesses absent from trial have been admitted only where the declarant is unavailable, and only where the defendant has had a prior opportunity to cross-examine." - U.S. at -, 124 S.Ct. at 1369. The opinion goes on to make clear, however, that the approach it announces is a departure from existing precedent: "Although the results of our decisions have generally been faithful to the original meaning of the Confrontation Clause, the same cannot be said of our rationales. Roberts conditions the admissibility of all hearsay evidence on whether it falls under a firmly rooted hearsay exception or bears particularized guarantees of trustworthiness.” Id. (quotations omitted). Thus, it is clear that the analytical approach announced in Crawford is a departure from that articulated in Roberts and its progeny.
Nor does the language of Crawford direct the conclusion that the only reasonable outcome under the Roberts test was the exclusion of testimonial hearsay absent a prior opportunity to cross-examine. Although the Court notes that the results of its decisions have been consistent with the holding of Crawford, the Court criticizes Roberts precisely because courts could and did apply the Roberts test to admit statements that should have been barred by the Confrontation Clause. Crawford, -U.S. at-, 124 S.Ct. at 1371 ("The unpardonable vice of the Roberts test, however, is not its unpredictability, but its demonstrated capacity to admit core testimonial statements that the Confrontation Clause plainly meant to exclude.”). Nothing in Crawford suggests admitting statements under the Roberts test was per se unreasonable. Instead, the reasonableness of applying Roberts to reach that result is why the court overruled the older standard.


. 372 U.S. 335, 83 S.Ct. 792, 9 L.Ed.2d 799 (1963) (holding that criminal defendants charged with serious offenses have the right to be represented at trial by counsel).


. In Lilly v. Virginia, a plurality of the Supreme Court expressly concluded that the absence of an offer of leniency and the presence of some statements against penal interest were not relevant indicia of reliability which would support the admission of a co-defendant's confession under the Roberts test. 527 U.S. 116, 138-39, 119 S.Ct. 1887, 144 L.Ed.2d 117 (1999). Justice Scalia wrote separately, concurring in the judgment but arguing that no confession could have been admitted in conformity with the Confrontation Clause without the prior opportunity to cross-examine. Id. at 143, 119 S.Ct. 1887 (Scalia, J., concurring in part and concurring in the judgment). Assuming that Justice Scalia’s separate concurrence should be counted as a fifth vote against consideration of the two factors described above, Lilly would affect our application of Earnest to this case. Because the decision in Lilly was announced after Brown’s conviction became final, however, we must determine whether Lilly announced a new rule subject to the Teague retroactivity analysis.
“[A] case announces a new rule if the result was not dictated by precedent existing at the time the defendant’s conviction was final.” Teague, 489 U.S. at 301, 109 S.Ct. 1060 (1989). In Earnest v. Dorsey, we examined whether Idaho v. Wright announced a new rule when it held that corroborating evidence could not be used to demonstrate the reliability of a statement under the Roberts test. 87 F.3d 1123, 1132-33 (10th Cir.1996). This court concluded that Wright announced a new rule because "a state court considering Earnest's claim in 1987 would [not] have felt compelled to conclude that the Constitution forbade the use of corroborating evidence to demonstrate the reliability of a hearsay statement.” Id. at 1132.
We apply the same analysis here. This court must survey the case law as it existed prior to Brown's conviction to determine if the state court should have felt compelled to ignore the absence of an offer of leniency and the presence of statements strongly against penal interest in determining whether or not the admission of Vena’s statement would violate the Confrontation Clause. Our own case law at the time would not have led the state court to that conclusion. Earnest, as discussed above, relied on both factors in support of its conclusion that the admission of the co-defendant’s statement did not violate the Confrontation Clause. Id. at 1134. Likewise, nothing in the Supreme Court's cases applying Roberts mandated the conclusion that the absence of an offer of leniency was not an appropriate consideration in examin*1228ing the reliability of a statement under Roberts. Moreover, while Supreme Court precedent called into doubt whether statements against penal interest came within a firmly rooted exception and had noted that co-defendant confessions were suspect, our own case law had not interpreted that to mean we should ignore a co-defendant’s statement where that statement inculpated the co-defendant to a high degree. United States v. Gomez, 810 F.2d 947, 954 n. 8 (10th Cir.1987) (permitting the use of the fact that a statement was against the declarant's penal interest as “one factor entitled to some consideration” under the Roberts test). Accordingly, we conclude that at the time Brown's conviction became final the applicable case law did not dictate the conclusions reached in Lilly, and therefore Lilly announced a new rule with respect to the consideration of the absence of an offer of leniency and statements against penal interest.
We further conclude that the rule in Lilly does not meet either of the two exceptions to the Teague bar against retroactivity. Clearly, the rule does not bear on private conduct. Likewise, if the rule announced in Crawford was not a watershed rule, as we explained above, it is highly unlikely that this rule could meet that test. Barring the consideration of these factors under the Roberts analysis cannot be said to alter our understanding of bedrock procedural elements essential to the fairness of a proceeding. Therefore, Lilly does not affect our reliance on Earnest.


. We acknowledge that in his direct appeal, Vena argued that he had been induced to make the statements because he was informed by the investigating officers that they were chiefly interested in the "triggerman.” The decision in Vena’s direct appeal, however, makes clear that Vena had already provided a substantial amount of information, including the information concerning the planning of the murder, prior to that comment by investigators. Vena v. Wyoming, 941 P.2d 33,37 (Wyo.1997), abrogated on other grounds by Vaughn v. Wyoming, 962 P.2d 149 (Wyo.1998).

